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                              UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION


    In re                                                            Chapter 11

    LTL MANAGEMENT LLC,1                                             Case No. 21-30589 (JCW)

                               Debtor.


                             NOTICE OF AGENDA OF MATTERS
                        SCHEDULED FOR HEARING ON OCTOBER 20, 2021

    Time of Hearing:              9:30 a.m. (prevailing Eastern Time)

    Location of Hearing:          Courtroom of the Honorable Judge J. Craig Whitley, United States
                                  Bankruptcy Court for the Western District of North Carolina, Charlotte
                                  Division, JCW Courtroom 2-B, 401 West Trade Street, Charlotte, North
                                  Carolina 28202

1.          Debtor’s Application for an Order Authorizing the Retention and Employment of Epiq
            Corporate Restructuring, LLC, as Claims, Noticing and Ballot Agent [Dkt. 6].

            Status: This matter is going forward.

            Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

            Related Documents:

            A.      Informational Brief of LTL Management LLC [Dkt. 3] (the “Informational
                    Brief”).

            B.      Declaration of John K. Kim in Support of First Day Pleadings [Dkt. 5] (the “First
                    Day Declaration”).

            C.      Debtor’s Ex Parte Motion for Entry of an Order (I) Scheduling an Emergency
                    Hearing on Certain First Day Pleadings and (II) Approving the Form and Manner
                    of Limited Notice Thereof [Dk. 22] (the “Emergency Hearing Motion”).

            D.      Ex parte Order Granting the Emergency Hearing Motion [Dkt. 34]
                    (the “Emergency Hearing Order”).


1
            The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
            501 George Street, New Brunswick, New Jersey 08933.



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         E.       Notice of Chapter 11 Filing and of Emergency Hearing on First Day Pleadings
                  [Dkt. 37] (the “Notice of Emergency Hearing”).

         Objections Received: None to date.

2.       Debtor’s Motion for an Order: (I) Authorizing It to File a List of the Top Law Firms with
         Talc Cases against the Debtor in Lieu of the List of 20 Largest Unsecured Creditors;
         (II) Approving Certain Notice Procedures for Talc Claimants; and (III) Approving the
         Form and Manner of Notice of Commencement of this Case [Dkt. 7].

         Status: This matter is going forward.

         Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

         Related Documents:

         A.       Informational Brief.

         B.       First Day Declaration.

         C.       Emergency Hearing Motion.

         D.       Emergency Hearing Order.

         E.       Notice of Emergency Hearing.

         Objections Received: None to date.

3.       Debtor’s Motion for Entry of an Order Establishing Certain Notice, Case Management
         and Administrative Procedures [Dkt. 10].

         Status: This matter is going forward.

         Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

         Related Documents:

         A.       Informational Brief.

         B.       First Day Declaration.

         C.       Emergency Hearing Motion.

         D.       Emergency Hearing Order.

         E.       Notice of Emergency Hearing.

         Objections Received: None to date.




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4.       Debtor’s Motion for an Order: (I) Approving the Continued Use of its Bank Account and
         Business Forms; (II) Granting a Waiver of the Requirements of Section 345(b) of the
         Bankruptcy Code; and (III) Authorizing the Debtor’s Bank to Charge Certain Fees and
         Other Amounts [Dkt. 11].

         Status: This matter is going forward.

         Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

         Related Documents:

         A.       Informational Brief.

         B.       First Day Declaration.

         C.       Emergency Hearing Motion.

         D.       Emergency Hearing Order.

         E.       Notice of Emergency Hearing.

         Objections Received: None to date.

5.       Debtor’s Emergency Motion to Enforce the Automatic Stay Against Talc Claimants Who
         Seek to Pursue Their Claims Against the Debtor and its Non-Debtor Affiliates [Dkt. 44].

         Status: A proposed Order Scheduling Emergency Hearing with respect to
         this matter has been submitted to the Court for entry. If that order is
         entered, this matter is going forward.

         Objection Deadline: October 20, 2021 at 9:30 a.m., prevailing Eastern Time

         Related Documents:

         A.       Informational Brief.

         B.       First Day Declaration.

         C.       Debtor’s Ex Parte Motion Requesting Authority to Exceed Maximum Page Limit
                  [Dkt. 43].

         D.       Debtor’s Ex Parte Motion for Entry of an Order Scheduling an Emergency
                  Hearing on the Motion to Enforce the Automatic Stay [Dkt. 45].

         E.       Ex Parte Order Granting the Debtor Authority to Exceed Maximum Page Limit
                  [Dkt. 46].

         Objections Received: None to date.



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 Dated: October 18, 2021                          Respectfully submitted,
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                                                  PROPOSED ATTORNEYS FOR DEBTOR




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